         Case 2:17-cv-04721-GMS Document 47 Filed 08/19/18 Page 1 of 3


                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF ARIZONA


AMICHAI BERGMAN, pleading on his own ) Case No.: 2:17-cv-04721-GMS
behalf and on behalf of all other similarly )
situated consumers,                         )
                                            )
               Plaintiff,                   ) STIPULATION OF DISMISSAL
        vs.                                 ) WITH PREJUDICE
                                            )
COX COMMUNICATIONS INC.,                    )
                                            )
               Defendant.                   )
                                            )


       Defendant, COX COMMUNICATIONS, INC., and Plaintiff, AMICHAI BERGMAN, hereby

jointly request that the Court dismiss Plaintiff’s individual claims with prejudice and, with all rights

of appeal waived, dismiss any claims of the putative class members without prejudice and, as to the

dismissals, direct that all parties shall bear their own fees and costs pursuant to Rule 41(a) of the

Federal Rules of Civil Procedure.      .

Dated this 17th day of August, 2018.


                                                     Respectfully Submitted,


                                                     /s/ John Prather
                                                     John Prather, Esq.
                                                     5864 N. 83rd Street
                                                     Scottsdale, AZ 85250
                                                     Phone: (480) 296-1507
                                                     johnprather1@cox.net

                                                     /s/ Daniel Zemel
                                                     Daniel Zemel, Esq. (Pro Hac Vice)
                                                     Zemel Law LLC
                                                     1373 Broad Street, Suite 203C
                                                     Clifton, NJ 07013
                                                     Phone: (862) 227-3106
                                                     Fax: (973) 282-8603
                                                     dz@zemellawllc.com

                                                     Attorneys for Plaintiff, Amichai Bergman
Case 2:17-cv-04721-GMS Document 47 Filed 08/19/18 Page 2 of 3




                           /s/ Brian Mosley
                           Brian Mosley, Esq.
                           Osborn Maledon, P.A.
                           2929 North Central Avenue, Suite 2100
                           Phoenix, AZ 85012
                           Phone: (602) 640-9000
                           bmosley@omlaw.com
                           Attorney for Defendant, Cox Communications, Inc.




                               2
         Case 2:17-cv-04721-GMS Document 47 Filed 08/19/18 Page 3 of 3


                                   CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of August, 2018, a true and correct copy of the foregoing

document was e-filed via the Court’s ECF System and a copy sent to all counsel of record.


                                                            /s/ John Prather
                                                            John Prather, Esq.




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